IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
______________________________________________

UNITED STATES OF AMERICA,

               v.                                              24-CR-104

NICHOLAS BLOOM,

                        Defendant.
______________________________________________



                         MOTION FOR HEARING TO
              DETERMINE THE DEFENDANT’S MENTAL COMPETENCY

       The defendant is scheduled to be arraigned on August 15, 2024. At arraignment, the

government intends to move, pursuant to 18 U.S.C. § 4241(a), for a hearing to determine the

defendant’s mental competency. The government files this memorandum in advance of the

defendant’s arraignment to provide the Court with a more detailed record for the

government’s motion.



                                         ARGUMENT

       Section 4241(a) provides that the government “may file a motion for a hearing to

determine the mental competency of the defendant.” The statute requires that a court grant

such a motion “if there is reasonable cause to believe that the defendant may presently be

suffering from a mental disease or defect rendering him mentally incompetent to the extent

that he is unable to understand the nature and consequences of the proceedings against him

or to assist properly in his defense.” Id.
       “Reasonable cause” may exist where, among other things, “a defendant consistently

exhibits behavior and beliefs” that are “bizarre,” United States v. Auen, 846 F.2d 872, 878 (2d

Cir. 1988), notwithstanding whether the defendant’s in-court behavior appears normal. As

the Second Circuit has noted, a “court’s observations alone ‘cannot be relied upon to dispense

with a hearing’” on the issue of competency “if there is substantial other evidence that the

defendant is incompetent.” United States v. Quintieri, 306 F.3d 1217,1233 (2d Cir. 2002)

(quoting Pate v. Robinson, 383 U.S. 375, 386 (1966)).



       Information currently available to the government shows that “reasonable cause”

exists to, at the very least, require that the defendant be examined pursuant to 18 U.S.C.

§ 4241(b). The defendant’s behavior underlying the Indictment, which is alleged in the

Criminal Complaint (Doc. 1), shows a disturbing and escalating pattern of harassing and

threatening conduct. For example:

   •   As alleged in the Complaint, in January 2024, the defendant began sending Victim 1,

       a former co-worker who lives in Niagara County, hundreds of unwanted text messages

       and email. Over time, those messages became increasingly incoherent, violent, and

       sexual. The defendant continued this behavior despite multiple requests that he stop.

   •   When Victim 1 contacted the Niagara County Sheriff’s Office, the defendant began

       leaving numerous bizarre voicemails for the Niagara County Sheriff’s Office

       requesting—in expletive-laden and often incoherent tirades—that he be allowed to see

       or contact his “friend,” i.e., Victim 1.

   •   In June 2024, after the defendant’s behavior had escalated severely, he began

       contacting Victim 1’s aunt, a Niagara County Family Court Judge (“Victim 2”). The



                                                  2
        defendant filled Victim 2’s chambers voicemail with messages that, once again, were

        often incoherent and violent. 1 The defendant also began texting Victim 2’s personal

        cell phone with numerous violent texts and, on one occasion, a photo of Victim 2’s

        home.


        Since the government began its investigation, it has learned that the defendant has

recently engaged in nearly identical conduct with several other individuals. The scope and

intensity of the defendant’s behavior suggests that the conduct in this case is rooted in

significant mental health issues, rather than just an inappropriate fixation on Victim 1.



        For example, until recently, the defendant was employed by the National Archives

and Records Administration (“NARA”). NARA provided the government with a copy of

NARA’s June 2024 Notice of Proposed Removal. That Notice, which as attached under seal

as Exhibit A,2 documents months’ worth of conduct involving multiple NARA employees—

including the Archivist of the United States—and members of their families. The conduct

described in that letter is strikingly similar to the conduct underlying this case.



        Finally, prior to the defendant’s arrest in this case, the case agent learned through

interviews that the defendant may have been recently examined pursuant to the State of

California’s mental health law.




1
 If necessary, the government can provide the Court with copies of the defendant’s voicemails left for the
Niagara County Sheriff’s Office and Victim 2.
2
 Sealing is appropriate because the Notice of Proposed Removal contains sensitive information regarding the
defendant’s prior employment, conduct, and identifying information related to other individuals that the
defendant has engaged in threatening and harassing behavior towards.


                                                    3
                                     CONCLUSION

       For the reasons stated above, the government submits that “reasonable cause” exists

to believe that the defendant “may presently be suffering from a mental disease or defect

rendering him mentally incompetent to the extent that he is unable to understand the nature

and consequences of the proceedings against him or to assist properly in his defense.” 18

U.S.C. § 4241(a). The government therefore moves for a hearing to determine the defendant’s

competency. The government further requests, pursuant to 18 U.S.C. § 4241(b), that the

defendant undergo a psychiatric or psychological exam prior to the hearing.



       DATED: Buffalo, New York, August 15, 2024.

                                    TRINI E. ROSS
                                  United States Attorney

BY:    s/ CHARLES M. KRULY                       BY:    s/ MAEVE E. HUGGINS
       Assistant United States Attorney                 Assistant United States Attorney
       United States Attorney’s Office                  United States Attorney’s Office
       Western District of New York                     Western District of New York
       138 Delaware Avenue                              138 Delaware Avenue
       Buffalo, New York 14202                          Buffalo, New York 14202
       (716) 843-5836                                   (716) 843-5872
       Charles.Kruly@usdoj.gov                          Maeve.Huggins@usdoj.gov




                                             4
EXHIBIT A
 (Filed Under Seal)
